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7    [Additional counsel identified on signature page in accordance with Local Rule 3-4(a)(1)]

8
                                  UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
10

11   FEDERAL TRADE COMMISSION,
12                 Plaintiff,
13          v.                                        Case No. 5:22-cv-04325-EJD
14   META PLATFORMS, INC., et al.                     PLAINTIFF FEDERAL TRADE
                                                      COMMISSION’S FINAL PARTY FACT
15                 Defendants.                        WITNESS LIST
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     PLAINTIFF FTC’S FINAL PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD
1           Pursuant to the Joint Stipulated Case Management Order at ¶ H.9.b (Dkt. 69) and Joint

2    Stipulated Discovery Plan and Briefing Schedule at ¶ B.4 and Exh. A (Dkt. 86), Plaintiff Federal

3    Trade Commission provides its Final Party Fact Witness List with the individuals whose

4    testimony Plaintiff presently intends to present either live and/or via deposition video at the

5    evidentiary hearing on Plaintiff’s motion for a preliminary injunction. Plaintiff reserves the right

6    to: (1) call any fact witness at the hearing who appears on Defendants’ final party or non-party

7    fact witness list; (2) call any witness needed solely for impeachment; (3) call the custodian of

8    records of any party or non-party from whom documents or records have been obtained to the

9    extent necessary to demonstrate the authenticity or admissibility of documents, in the event a

10   stipulation cannot be reached; and (4) supplement this list in accordance with the Joint Stipulated

11   Discovery Plan and Briefing Schedule at ¶ B.4 (Dkt. 86).

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     PLAINTIFF FTC’S FINAL PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD          1
     NAME               EMPLOYER               SUMMARY OF GENERAL TOPICS OF
1                                              ANTICIPATED TESTIMONY
2    Beck, Jaraslov     Meta Platforms, Inc.   Meta’s proposed acquisition of Within; industry
                                               dynamics, strategies, and features related to VR
3                                              or metaverse platforms, hardware, and/or
                                               content, including but not limited to Beat Saber
4                                              and Supernatural; fitness uses of VR; actual and
                                               potential competition in the VR Dedicated
5
                                               Fitness App market; Meta’s and Within’s
6                                              interactions with third-party VR app developers
                                               or platforms; Meta’s resources and capabilities
7                                              and its plans regarding the VR Dedicated
                                               Fitness App market, including alternatives to
8                                              the proposed acquisition of Within; the likely
                                               effect of Meta on Within and the VR Dedicated
9
                                               Fitness App market; entry conditions for the VR
10                                             Dedicated Fitness App market; matters related
                                               to any defenses raised by Defendants or any
11                                             topics addressed in the witness’s deposition.
     Bosworth, Andrew   Meta Platforms, Inc.   Meta’s proposed acquisition of Within; industry
12                                             dynamics, strategies, and features related to VR
13                                             or metaverse platforms, hardware, and/or
                                               content, including but not limited to Beat Saber
14                                             and Supernatural; fitness uses of VR; actual and
                                               potential competition in the VR Dedicated
15                                             Fitness App market; Meta’s and Within’s
                                               interactions with third-party VR app developers
16                                             or platforms; Meta’s resources and capabilities
17                                             and its plans regarding the VR Dedicated
                                               Fitness App market, including alternatives to
18                                             the proposed acquisition of Within; the likely
                                               effect of Meta on Within and the VR Dedicated
19                                             Fitness App market; entry conditions for the VR
                                               Dedicated Fitness App market; matters related
20
                                               to any defenses raised by Defendants or any
21                                             topics addressed in the witness’s deposition.
     Brown, Melissa     Meta Platforms, Inc.   Meta’s proposed acquisition of Within; industry
22                                             dynamics, strategies, and features related to VR
                                               or metaverse platforms, hardware, and/or
23                                             content, including but not limited to Beat Saber
                                               and Supernatural; fitness uses of VR; actual and
24
                                               potential competition in the VR Dedicated
25                                             Fitness App market; Meta’s and Within’s
                                               interactions with third-party VR app developers
26                                             or platforms; Meta’s resources and capabilities
                                               and its plans regarding the VR Dedicated
27

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     PLAINTIFF FTC’S FINAL PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD          2
                                              Fitness App market, including alternatives to
1                                             the proposed acquisition of Within; the likely
2                                             effect of Meta on Within and the VR Dedicated
                                              Fitness App market; entry conditions for the VR
3                                             Dedicated Fitness App market; matters related
                                              to any defenses raised by Defendants, any topics
4                                             addressed in the witness’s deposition, or any
                                              topics for which the witness was designated as
5
                                              Meta’s corporate representative in response to
6                                             the FTC’s 30(b)(6) notice.
     Carmack, John     Meta Platforms, Inc.   Meta’s proposed acquisition of Within; industry
7                      (consultant)           dynamics, strategies, and features related to VR
                                              or metaverse platforms, hardware, and/or
8                                             content, including but not limited to Beat Saber
                                              and Supernatural; fitness uses of VR; actual and
9
                                              potential competition in the VR Dedicated
10                                            Fitness App market; Meta’s and Within’s
                                              interactions with third-party VR app developers
11                                            or platforms; Meta’s resources and capabilities
                                              and its plans regarding the VR Dedicated
12                                            Fitness App market, including alternatives to
13                                            the proposed acquisition of Within; the likely
                                              effect of Meta on Within and the VR Dedicated
14                                            Fitness App market; entry conditions for the VR
                                              Dedicated Fitness App market; matters related
15                                            to any defenses raised by Defendants or any
                                              topics addressed in the witness’s deposition.
16   Chiao, Jane       Meta Platforms, Inc.   Meta’s proposed acquisition of Within; industry
17                                            dynamics, strategies, and features related to VR
                                              or metaverse platforms, hardware, and/or
18                                            content, including but not limited to Beat Saber
                                              and Supernatural; fitness uses of VR; actual and
19                                            potential competition in the VR Dedicated
                                              Fitness App market; Meta’s and Within’s
20
                                              interactions with third-party VR app developers
21                                            or platforms; Meta’s resources and capabilities
                                              and its plans regarding the VR Dedicated
22                                            Fitness App market, including alternatives to
                                              the proposed acquisition of Within; the likely
23                                            effect of Meta on Within and the VR Dedicated
                                              Fitness App market; entry conditions for the VR
24
                                              Dedicated Fitness App market; matters related
25                                            to any defenses raised by Defendants or any
                                              topics addressed in the witness’s deposition.
26   Cibula, Michael   Within Unlimited,      The financial performance and reporting of
                       Inc.                   Supernatural and Within, including, but not
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     PLAINTIFF FTC’S FINAL PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD          3
                                              limited to all accounting, tax, budget,
1                                             forecasting, and planning activities; Within’s
2                                             financial reports and financial data including the
                                              definitions, sources, documentation, inputs, and
3                                             values of data fields, hard-coded numbers, and
                                              formula in those reports and data. Surveys
4                                             conducted by Within including the definitions
                                              of data fields, the purpose of survey questions,
5
                                              the ways Within uses survey data in the
6                                             ordinary course of business, and Within’s
                                              process for designing, deploying, analyzing, and
7                                             using surveys in the ordinary course of
                                              business; Within’s use of Meta’s and alternative
8                                             payment and subscription processing service;
                                              matters related to any defenses raised by
9
                                              Defendants, any topics addressed in the
10                                            witness’s deposition, or any topics for which the
                                              witness was designated as Within’s corporate
11                                            representative in response to the FTC’s 30(b)(6)
                                              notice.
12

13   Dass, Anand       Meta Platforms, Inc.   Meta’s proposed acquisition of Within; industry
                                              dynamics, strategies, and features related to VR
14                                            or metaverse platforms, hardware, and/or
                                              content, including but not limited to Beat Saber
15                                            and Supernatural; fitness uses of VR; actual and
                                              potential competition in the VR Dedicated
16                                            Fitness App market; Meta’s and Within’s
17                                            interactions with third-party VR app developers
                                              or platforms; Meta’s resources and capabilities
18                                            and its plans regarding the VR Dedicated
                                              Fitness App market, including alternatives to
19                                            the proposed acquisition of Within; the likely
                                              effect of Meta on Within and the VR Dedicated
20                                            Fitness App market; entry conditions for the VR
21                                            Dedicated Fitness App market; matters related
                                              to any defenses raised by Defendants, any topics
22                                            addressed in the witness’s deposition, or any
                                              topics for which the witness was designated as
23                                            Meta’s corporate representative in response to
                                              the FTC’s 30(b)(6) notice.
24
     Guzman-Barrios,   Meta Platforms, Inc.   Meta’s proposed acquisition of Within; industry
25   Deborah                                  dynamics, strategies, and features related to VR
                                              or metaverse platforms, hardware, and/or
26                                            content, including but not limited to Beat Saber
                                              and Supernatural; fitness uses of VR; actual and
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     PLAINTIFF FTC’S FINAL PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD          4
                                             potential competition in the VR Dedicated
1                                            Fitness App market; Meta’s and Within’s
2                                            interactions with third-party VR app developers
                                             or platforms; Meta’s resources and capabilities
3                                            and its plans regarding the VR Dedicated
                                             Fitness App market, including alternatives to
4                                            the proposed acquisition of Within; the likely
                                             effect of Meta on Within and the VR Dedicated
5
                                             Fitness App market; entry conditions for the VR
6                                            Dedicated Fitness App market; matters related
                                             to any defenses raised by Defendants or any
7                                            topics addressed in the witness’s deposition.
     Hunt, Gio        Meta Platforms, Inc.   Meta support for and review of Within activities
8                                            between the signing of the merger agreement
                                             and the present; Meta’s funding of Within;
9
                                             Meta’s support for and approval of Within’s
10                                           hiring plans; Meta’s plans to integrate Within
                                             into its organization; Meta’s integration of game
11                                           studios into its first-party studio group; Meta’s
                                             considerations regarding studio autonomy;
12                                           Meta’s system for determining each studio’s
13                                           projects; Meta’s systems for tracking studios;
                                             the plans, commitment, and projects Meta’s
14                                           first-party studios are working on; matters
                                             related to any defenses raised by Defendants,
15                                           any topics addressed in the witness’s deposition,
                                             or any topics for which the witness was
16                                           designated as Meta’s corporate representative in
17                                           response to the FTC’s 30(b)(6) notice..
     Koblin, Aaron    Within Unlimited,      Meta’s proposed acquisition of Within; industry
18                    Inc.                   dynamics, strategies, and features related to VR
                                             or metaverse platforms, hardware, and/or
19                                           content, including but not limited to Beat Saber
                                             and Supernatural; fitness uses of VR; Meta’s
20
                                             and Within’s interactions with third-party VR
21                                           app developers or platforms; actual and
                                             potential competition in the VR Dedicated
22                                           Fitness App market; Meta’s resources and
                                             capabilities; Within’s perceptions of Meta; the
23                                           likely effect of Meta on Within and the VR
                                             Dedicated Fitness App market; entry conditions
24
                                             for the VR Dedicated Fitness App market;
25                                           matters related to any defenses raised by
                                             Defendants, any topics addressed in the
26                                           witness’s deposition, or any topics for which the
                                             witness was designated as Within’s corporate
27

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     PLAINTIFF FTC’S FINAL PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD          5
                                              representative in response to the FTC’s 30(b)(6)
1                                             notice.
2    Milk, Chris       Within Unlimited,      Meta’s proposed acquisition of Within; industry
                       Inc.                   dynamics, strategies, and features related to VR
3                                             or metaverse platforms, hardware, and/or
                                              content, including but not limited to Beat Saber
4                                             and Supernatural; fitness uses of VR; Meta’s
                                              and Within’s interactions with third-party VR
5
                                              app developers or platforms; actual and
6                                             potential competition in the VR Dedicated
                                              Fitness App market; Meta’s resources and
7                                             capabilities; Within’s perceptions of Meta; the
                                              likely effect of Meta on Within and the VR
8                                             Dedicated Fitness App market; entry conditions
                                              for the VR Dedicated Fitness App market;
9
                                              matters related to any defenses raised by
10                                            Defendants, any topics addressed in the
                                              witness’s deposition, or any topics for which the
11                                            witness was designated as Within’s corporate
                                              representative in response to the FTC’s 30(b)(6)
12                                            notice.
13   Paynter, Dorrie   Meta Platforms, Inc.   Meta’s deliberate assessments of or research
                                              into VR Dedicated Fitness by Meta’s “FRL
14                                            Marketing Insights,” or a “Fitness Vertical
                                              Team” or other systemic evaluations of fitness
15                                            as a use-case or vertical for extended Reality or
                                              virtual Reality users, the factors considered by
16                                            those assessments, the reasons for assigning
17                                            personnel to conduct those assessments, and
                                              their implications for Meta’s hardware or
18                                            content strategies; Meta’s efforts to categorize
                                              applications as belonging to discrete genres,
19                                            categories, use-cases, or verticals, and the
                                              considerations that go into those
20
                                              categorizations; matters related to any defenses
21                                            raised by Defendants, any topics addressed in
                                              the witness’s deposition, or any topics for which
22                                            the witness was designated as Meta’s corporate
                                              representative in response to the FTC’s 30(b)(6)
23                                            notice.
     Pruett, Chris     Meta Platforms, Inc.   Meta’s proposed acquisition of Within; industry
24
                                              dynamics, strategies, and features related to VR
25                                            or metaverse platforms, hardware, and/or
                                              content, including but not limited to Beat Saber
26                                            and Supernatural; fitness uses of VR; actual and
                                              potential competition in the VR Dedicated
27

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     PLAINTIFF FTC’S FINAL PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD          6
                                             Fitness App market; Meta’s and Within’s
1                                            interactions with third-party VR app developers
2                                            or platforms; Meta’s resources and capabilities
                                             and its plans regarding the VR Dedicated
3                                            Fitness App market, including alternatives to
                                             the proposed acquisition of Within; the likely
4                                            effect of Meta on Within and the VR Dedicated
                                             Fitness App market; entry conditions for the VR
5
                                             Dedicated Fitness App market; matters related
6                                            to any defenses raised by Defendants or any
                                             topics addressed in the witness’s deposition.
7    Rabkin, Mark     Meta Platforms, Inc.   Meta’s proposed acquisition of Within; industry
                                             dynamics, strategies, and features related to VR
8                                            or metaverse platforms, hardware, and/or
                                             content, including but not limited to Beat Saber
9
                                             and Supernatural; fitness uses of VR; actual and
10                                           potential competition in the VR Dedicated
                                             Fitness App market; Meta’s and Within’s
11                                           interactions with third-party VR app developers
                                             or platforms; Meta’s resources and capabilities
12                                           and its plans regarding the VR Dedicated
13                                           Fitness App market, including alternatives to
                                             the proposed acquisition of Within; the likely
14                                           effect of Meta on Within and the VR Dedicated
                                             Fitness App market; entry conditions for the VR
15                                           Dedicated Fitness App market; matters related
                                             to any defenses raised by Defendants, any topics
16                                           addressed in the witness’s deposition, or any
17                                           topics for which the witness was designated as
                                             Meta’s corporate representative in response to
18                                           the FTC’s 30(b)(6) notice.
     Rubin, Jason     Meta Platforms, Inc.   Meta’s proposed acquisition of Within; industry
19                                           dynamics, strategies, and features related to VR
                                             or metaverse platforms, hardware, and/or
20
                                             content, including but not limited to Beat Saber
21                                           and Supernatural; fitness uses of VR; actual and
                                             potential competition in the VR Dedicated
22                                           Fitness App market; Meta’s and Within’s
                                             interactions with third-party VR app developers
23                                           or platforms; Meta’s resources and capabilities
                                             and its plans regarding the VR Dedicated
24
                                             Fitness App market, including alternatives to
25                                           the proposed acquisition of Within; the likely
                                             effect of Meta on Within and the VR Dedicated
26                                           Fitness App market; entry conditions for the VR
                                             Dedicated Fitness App market; matters related
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     PLAINTIFF FTC’S FINAL PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD          7
                                                  to any defenses raised by Defendants, any topics
1                                                 addressed in the witness’s deposition, or any
2                                                 topics for which the witness was designated as
                                                  Meta’s corporate representative in response to
3                                                 the FTC’s 30(b)(6) notice.
     Stojsavljevic, Rade   Meta Platforms, Inc.   Meta’s proposed acquisition of Within; industry
4                                                 dynamics, strategies, and features related to VR
                                                  or metaverse platforms, hardware, and/or
5
                                                  content, including but not limited to Beat Saber
6                                                 and Supernatural; fitness uses of VR; actual and
                                                  potential competition in the VR Dedicated
7                                                 Fitness App market; Meta’s and Within’s
                                                  interactions with third-party VR app developers
8                                                 or platforms; Meta’s resources and capabilities
                                                  and its plans regarding the VR Dedicated
9
                                                  Fitness App market, including alternatives to
10                                                the proposed acquisition of Within; the likely
                                                  effect of Meta on Within and the VR Dedicated
11                                                Fitness App market; entry conditions for the VR
                                                  Dedicated Fitness App market; matters related
12                                                to any defenses raised by Defendants or any
13                                                topics addressed in the witness’s deposition.
     Verdu, Michael        Netflix, Inc.          Meta’s proposed acquisition of Within; industry
14                         (formerly of Meta      dynamics, strategies, and features related to VR
                           Platforms, Inc.)       or metaverse platforms, hardware, and/or
15                                                content, including but not limited to Beat Saber
                                                  and Supernatural; fitness uses of VR; actual and
16                                                potential competition in the VR Dedicated
17                                                Fitness App market; Meta’s and Within’s
                                                  interactions with third-party VR app developers
18                                                or platforms; Meta’s resources and capabilities
                                                  and its plans regarding the VR Dedicated
19                                                Fitness App market, including alternatives to
                                                  the proposed acquisition of Within; the likely
20
                                                  effect of Meta on Within and the VR Dedicated
21                                                Fitness App market; entry conditions for the VR
                                                  Dedicated Fitness App market; matters related
22                                                to any defenses raised by Defendants or any
                                                  topics addressed in the witness’s deposition.
23   Zuckerberg, Mark      Meta Platforms, Inc.   Meta’s proposed acquisition of Within; industry
                                                  dynamics, strategies, and features related to VR
24
                                                  or metaverse platforms, hardware, and/or
25                                                content, including but not limited to Beat Saber
                                                  and Supernatural; fitness uses of VR; actual and
26                                                potential competition in the VR Dedicated
                                                  Fitness App market; Meta’s and Within’s
27

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     PLAINTIFF FTC’S FINAL PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD          8
                                        interactions with third-party VR app developers
1                                       or platforms; Meta’s resources and capabilities
2                                       and its plans regarding the VR Dedicated
                                        Fitness App market, including alternatives to
3                                       the proposed acquisition of Within; the likely
                                        effect of Meta on Within and the VR Dedicated
4                                       Fitness App market; entry conditions for the VR
                                        Dedicated Fitness App market; matters related
5
                                        to any defenses raised by Defendants or any
6                                       topics addressed in the witness’s deposition.

7

8    Dated: October 28, 2022

9                                           By: /s/ Abby L. Dennis
10                                          Abby L. Dennis
                                            Peggy Bayer Femenella
11                                          Joshua Goodman
12                                          Jeanine Balbach
                                            Michael Barnett
13                                          E. Eric Elmore
                                            Justin Epner
14                                          Bradley Grossman
                                            Sean D. Hughto
15
                                            Frances Anne Johnson
16                                          Andrew Lowdon
                                            Lincoln Mayer
17                                          Erika Meyers
                                            Susan Musser
18                                          Adam Pergament
                                            Kristian Rogers
19
                                            Anthony R. Saunders
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24                                          Attorneys for Plaintiff
                                            Federal Trade Commission
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     PLAINTIFF FTC’S FINAL PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD          9
